        Case 9:16-cr-00027-DLC Document 121 Filed 01/05/17 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR 16–27–M–DLC–3

                      Plaintiff,
                                                              ORDER
        vs.

 PRESTON FREDERICK LAHMER,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on December 8, 2016. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Preston Frederick Lahmer’s

guilty plea after Lahmer appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of the possession with the

                                           1
       Case 9:16-cr-00027-DLC Document 121 Filed 01/05/17 Page 2 of 2



intent to distribute 3,4-methylenedioxymethamphetamine, commonly referred to as

“MDMA” and “ecstasy,” a Schedule I controlled substance, aiding and abetting, in

violation of 21 U.S.C. §§ 2 and 841(a)(1), as set forth in Count IV of the

Indictment. In exchange for Defendant’s plea, the United States has agreed to

dismiss Count I of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

119), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Preston Frederick Lahmer’s motion to

change plea (Doc. 89) is GRANTED and Preston Frederick Lahmer is adjudged

guilty as charged in Count IV of the Indictment.

      DATED this 5th day of January, 2017.




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